                     [NOT FOR PUBLICATION]

                UNITED STATES COURT OF APPEALS
                     FOR THE FIRST CIRCUIT
                                         

No. 97-1813

                   UNITED STATES OF AMERICA,

                           Appellee,

                              v.

                      ALEJANDRO SAVINON,

                     Defendant, Appellant.

                                         

         APPEAL FROM THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF NEW HAMPSHIRE

        [Hon. Joseph A. DiClerico, U.S. District Judge]

                                         

                            Before

                     Boudin, Circuit Judge,
                 Coffin, Senior Circuit Judge,
                   and Lynch, Circuit Judge.

                                         

M. Kristin Spath, Assistant Federal Defender, on brief for
appellant.

                                         
                       March 26, 1998

                                          

  Per Curiam.  Alejandro Savinon appeals from his conviction
and sentence for conspiring to possess with intent to
distribute and to distribute cocaine and cocaine base. 
Appellate counsel has filed a brief pursuant to Anders v.
California, 386 U.S. 738 (1967), and a motion to withdraw. 
Counsel has notified Savinon of his right to file a
supplemental brief, but Savinon has not done so.  After
thoroughly examining the entire record, we agree that there is
no meritorious ground for appeal.
    Savinon pled guilty at a plea hearing which conformed
substantially to Fed. R. Crim. P. 11 requirements.  The
presentence report ("PSR") provides factual support for the
district court's calculation of the applicable guideline
imprisonment range.  Moreover, Savinon's own version of the
facts -- which was filed with the sentencing court -- accepts
the PSR's quantities of cocaine powder and cocaine base as
accurate.  In recognition of Savinon's admission to those
facts, the government moved for -- and the court granted -- a
three-level reduction for acceptance of responsibility under
section 3E1.1 of the United States Sentencing Guidelines, and
a downward departure from the applicable guideline imprisonment
range under  5K1.1.  The court's failure to depart further
does not provide a meritorious ground for appeal.  See United
States v. McAndrews, 12 F.3d 273, 277 (1st Cir. 1993).

    Savinon's conviction and sentence are summarily affirmed.
See Loc. R. 27.1.  Appellate counsel's motion to withdraw is
granted.
